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                 Court Haae: EASTERN DISTRICT OF ARKANSAS
                 Division: 4                ·
                 Receipt Nuaber: LIT03&7&2
                 Cashier ID: sldavi
                 Transaction Date: 11/07/2812
                 Payer Maae: GlORGE DELLIS
                 ---------------------------------
                 NOTICE Of APPEAL/DOCKETING FEE
                  For: GEORGE DELLIS
                  Case/Party: D-ARE-4-11-CV-888379-081
                  Amount:        $455.80
                  ---------------------------------
                  CREDIT CARD
                   Aat Tendered: $455.00
                  ---------------------------------
                  Total Due:      $455.08
                  Total Tendered: $455.08
                  Change Amt:     $0.00


                  uonly when bank clears the check,
                  money order, or verifies credit of
                  funds is the fee or debt officially
                  paid or discharged. A$53 fee will
                  be charged for a returned check."



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